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                            UNITED STATES DISTRICT COURT
                                                                                      FLED
                             WESTERN DISTRICT OF TEXAS                            2012   SF -5     M O:21
                                  DEL RIO DIVISION
                                                                                     U.S.   cE1c'S offiCE
 UNITED STATES OF AMERICA,                                        CRIM. NO.

                   Plaintiff,                                     INDICTMENT

                                                                  [SEALED]

CELSO PEREZ-MARTINEZ (1)                                          CT1: 21:846&
RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka                           841(a)(1)-Conspiracy to Possess a
"KALULA" (2)                                                      Controlled Substance with Intent to
                                                                  Distribute (Marijuana);
                   Defendants.                                    CT2: 21:952&
                                                                 960(a)(l)-Conspiracy to Import
                                                                 with Intent to Distribute a
                                                                 Controlled Substance (Marijuana);
                                                                 CT 3: 21: 959(a)- Manufacture or
                                                                 Distribute a Controlled Substance
                                                                 Extra-territorial;
                                                                 CT 4: 21:861(a)(2)- Employment
                                                                 of Person Under 18 years of Age in
                                                                 Drug Operations
                                                                 CT 5: 18:924(o)- Conspiracy to
                                                                 Possess Firearms in Furtherance of
                                                                 Drug Trafficking;



THE GRAND JURY CHARGES:

                                            COUNT ONE
                                     [21 U.S.C. § 841, 846]

       Beginning on or about June   1,   2005 and continuing until on or about the date of this

Indictment in the Western District of Texas, the Northern District of Texas, the Republic of

Mexico, and elsewhere, the Defendants,

                       CELSO PEREZ-MARTINEZ (1)
           RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka "KALULA" (2)


did combine, conspire, confederate and agree together and with each other and others known and
           Case 2:12-cr-01428-AM Document 2 Filed 09/05/12 Page 2 of 6



 unknown to the Grand Jury to possess with intent to distribute and distribute a controlled

 substance, which offense involved one thousand kilograms or more of a mixture and substance

 containing a detectable amount of marijuana, a Schedule I Controlled Substance, contrary to Title

 21, United States Code, Section 841(a)(l) and 841 (b)(l)(A)(vii), in violation of Title 21, United

 States Code, Section 846.

                                          COUNT TWO
                      (21 U.S.C. § 952(a), 960(a)(1), 960(b)(1)(G) & 963)

        That beginning on or about June 1, 2005 and continuing through and including

the date of this indictment, in the Western District of Texas, Defendants,

                       CELSO PEREZ-MARTINEZ (1)
           RAUL RODIUGUEZ-HERRERA aka "ROPERO" aka "KALULA" (2)

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed together,

and with each other, and with others to the Grand Jury unknown, to commit offenses against the

United States, in violation of Title 21, United States Code, Section 963, that is to say, they

conspired to import a controlled substance, which offense involved one thousand kilograms or

more of a mixture and substance containing a detectable amount of marijuana, a Schedule I

Controlled Substance, into the United States from Mexico contrary to Title 21, United States Code,

Sections 952(a), 960(a)(l) and 960(b)(l)(G).


                                       COUNT THREE
                      (21 U.S.C. § 959(a), 963, 960(a)(3)   and (h)(1)(G))

       That beginning on or about June 1, 2005 and continuing through and including the date of

this indictment, in the Republic of Mexico and elsewhere, Defendants,

                      CELSO PEREZ-MARTINEZ (1)
          RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka "KALULA" (2)

knowingly, intentionally,    and unlawfully conspired, combined, confederated, and agreed
           Case 2:12-cr-01428-AM Document 2 Filed 09/05/12 Page 3 of 6




 together, and with each other, and with others to the Grand Jury unknown, to commit offenses

 against the United States, in violation of Title 21, United States Code, Section 963, that is to say,

they conspired to distribute 1000 kilograms or more of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance, intending and knowing that

said controlled substance would be unlawfully imported into the United States, in violation of Title

21, United States Code, Sections 959(a), 963, and 960(a)(3) and (b)(1)(G).

                                          COUNT FOUR
                                  (21 U.S.C. § 861(a)(l) and (b))

        That beginning on or about June 1, 2005, and continuing through and including the date of

this indictment, in the Western District of Texas, Defendants,

                       CELSO PEREZ-MARTINEZ (1)
           RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka "KALULA" (2)

being persons at least eighteen (18) years of age, did knowingly and intentionally employ, use,

induce, and coerce a person under eighteen (18) years of age, to assist in avoiding detection and

apprehension for an offense under Title 21, United States Code, Sections 841(a)(1), 952(a), and

960(a)(1), by any federal, state or local law enforcement official, in violation of Title 21, United

States Code, Section 86l(a)(1) and (b).


                                        COUNT FIVE
                                (18 U.S.C. § 924(c)(1) and (o))

       Beginning on or about January 1, 2008, and continuing through and including the date of

this indictment, in the Western District of Texas, Defendants,

                       CELSO PEREZ-MARTINEZ (1)
           RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka "KALULA" (2)

knowingly combined, conspired, confederated, and agreed with each other and others known and

unknown to the Grand Jury to commit offenses against the United States, that is, the
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DEFENDANTS conspired to possess firearms in furtherance of the drug trafficking crimes

charged in Counts One, Two, Three and Four of this Indictment, re-alleged herein, contrary to

Title 18, United States Code, Sections 924(c)(1) and (o).




                                             A TRUE B




ROBERT PITMAN
UNITES STATES ATTORNEY


RUS SELL D. LEACHMAN
Assistant United States Attorney.
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SEALED
SEALED:
UNSEALED: X)<                  PERSONAL DATA SHEET
                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

COUNTY: Maverick                 USAO #: 2008R25614               CASE# /JUDGE:
DATE: September 5, 2012        MAG. CT. #:                 FBI#
AUSA: RUSSELL D. LEACHMAN
DEFENDANT: CELSO PEREZ-MARTiNEZ (1)
CITIZENSHIP:
INTERPRETER NEEDED:_ Language:
DEFENSE ATTORNEY:
ADDRESS OF ATTORNEY:
DEFENDANT IS:                       DATE OF ARREST:
BENCH WARRANT NEEDED: YES
PROBATION OFFICER:                   NAME AND ADDRESS OF SURETY:
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: iNDICTMENT.
OFFENSE: (Code & Description): COUNT 1: 21 U.S.C.           846, 841(a)(1) & 841(b)(1)(A)(viii)
-    Conspiracy to Possess with Intent to Distribute a Controlled Substance (more than 1000
Kilograms of Marijuana). COUNT 2: 21 U.S.C.           952(a), 960(a)(1), 960(b)(1)(G) & 963
Conspiracy to Import a Controlled Substance (more than 1000 Kilograms of Marijuana).
COUNT 3: 21 U.S.C.          959(a), 963, 960(a)(3) and (b)(1)(G)    Extraterritorial Possession,
Manufacture, or Distribution of Marijuana (more than 1000 Kilograms). COUNT 4: 21 U.S.C.
  § 861 (a)( 1) &(b) Employment of Person Under 18 years of Age in Drug Operations (more
than 1000 Kilograms Marijuana). COUNT 5: 18 U.S.C.             924(c)(l)&(o)      Conspiracy to
Possess Firearms in Furtherance of Drug Trafficking.

OFFENSE IS: FELONY.
MAXIMUM SENTENCE: Cts. 1 - 4: 10 years - life imprisonment: a fine not to exceed $10
million; a 5 year mandatory minimum term of supervised release; and a mandatory $100 special
assessment, as to each count. Ct. 5 - Not more than 20 years imprisonment; fine not to exceed
$250,000; a minimum of 10 years of supervised release: and a mandatory $100 special
assessment.

PENALTY IS MANDATORY:               REMARKS: See above. W/DT-CR-3
          Case 2:12-cr-01428-AM Document 2 Filed 09/05/12 Page 6 of 6


                                                    DR 12CR 1428
UNSEALED: X X                  PERSONAL DATA SHEET
                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

COUNTY: Maverick                 USAO #: 2008R25614               CASE# /JUDGE:
DATE: September 5. 2012        MAG. CT. #:                 FBI#
AUSA: RUSSELL D. LEACHMAN
DEFENDANT: RAUL RODRIGUEZ-HERRERA aka "ROPERO" aka "KALULA (2)
CITIZENSHIP:
iNTERPRETER NEEDED:_ Language:
DEFENSE ATTORNEY:
ADDRESS OF ATTORNEY:
DEFENDANT IS:                       DATE OF ARREST:
BENCH WARRANT NEEDED: YES
PROBATION OFFICER:______ NAME AND ADDRESS OF SURETY:
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: INDICTMENT.
OFFENSE: (Code & Description): COUNT 1: 21 U.S.C.           846, 841(a)(1) & 841(b)(1)(A)(viii)
    Conspiracy to Possess with Intent to Distribute a Controlled Substance (more than 1000
Kilograms of Marijuana). COUNT 2: 21 U.S.C.          952(a). 960(a)(1), 960(b)(1)(G) & 963
Conspiracy to Import a Controlled Substance (more than 1000 Kilograms of Marijuana).
COUNT 3: 21 U.S.C.          959(a), 963, 960(a)(3) and (b)(1)(G)    Extraterritorial Possession,
Manufacture, or Distribution of Marijuana (more than 1000 Kilograms). COUNT 4: 21 U.S.C.
   861 (a)( 1) &(b) Employment of Person Under 18 years of Age in Drug Operations (more
than 1000 Kilograms Marijuana). COUNT 5: 18 U.S.C.             924(c)(1)&(o)      Conspiracy to
Possess Firearms in Furtherance of Drug Trafficking.

OFFENSE IS: FELONY.
MAXIMUM SENTENCE: Cts. 1 - 4: 10 years - life imprisonment: a fine not to exceed $10
million; a 5 year mandatory minimum term of supervised release: and a mandatory $100 special
assessment, as to each count. Ct. 5 - Not more than 20 years imprisonment: fine not to exceed
$250,000: a minimum of 10 years of supervised release: and a mandatory $100 special
assessment.

PENALTY IS MANDATORY:               REMARKS: See above. W/DT-CR-3
